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                                                     5   Attorneys for Defendant
                                                         ARICELA VILLA
                                                     6

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                                                     8                                 IN THE UNITED STATES DISTRICT COURT

                                                     9                            FOR THE EASTERN DISTRICT OF CALIFORNIA

                                                    10

                                                    11   UNITED STATES OF AMERICA,                            Case No. 2:07-CR-515-07 WBS

                                                    12                    Plaintiff,                          STIPULATION AND
B ARTH T OZER & D ALY LLP




                                                                                                              [PROPOSED] ORDER
                        S ACRAMENTO , C ALIFORNIA




                                                    13             v.
                            A TTORNEYS A T L AW




                                                    14   ARICELA VILLA,                                       Date: January 13, 2014
                                                                                                              Time: 9:30 a.m.
                                                    15                    Defendant.                          Judge: Honorable William B. Schubb

                                                    16

                                                    17             It is hereby stipulated and agreed to between the United States of America through

                                                    18   Michael Beckwith, Assistant U.S. Attorney, and defendant Aricela Villa, through her counsel,

                                                    19   Kresta Nora Daly, that the sentencing set for January 13, 2014 be vacated and that a new

                                                    20   sentencing date be set for March 10, 2014 at 9:30 a.m.

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                                                         STIPULATION AND [PROPOSED] ORDER                                                [Case No. 2:07-CR-00515-WBS]
                                                           Case 2:07-cr-00515-WBS Document 376 Filed 01/13/14 Page 2 of 2


                                                     1
                                                         Dated: January 7, 2014.            Respectfully submitted,
                                                     2
                                                                                            BARTH TOZER & DALY LLP
                                                     3

                                                     4                                      By    /s/ Kresta Nora Daly
                                                                                                  KRESTA NORA DALY
                                                     5                                      Attorneys for ARICELA VILLA

                                                     6

                                                     7   Dated: January 7, 2014.            By     /s/ Kresta Nora Daly
                                                                                                   MICHAEL BECKWITH
                                                     8                                             Assistant United States Attorney

                                                     9
                                                                                                 ORDER
                                                    10
                                                                          IT IS SO ORDERED.
                                                    11
                                                         Dated: January 13, 2014
                                                    12
B ARTH T OZER & D ALY LLP
                        S ACRAMENTO , C ALIFORNIA




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                            A TTORNEYS A T L AW




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                                                         STIPULATION AND [PROPOSED] ORDER                                             [Case No. 2:07-CR-00515-WBS]
